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 4                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WASHINGTON
 5
     UNITED STATES OF AMERICA,            )
 6                                        )
                       Plaintiff,         )      CR-07-136-LRS-2
 7                                        )
          vs.                             )      ORDER GRANTING UNOPPOSED
 8                                        )      MOTION TO MODIFY CONDITIONS
     RANDI K. TAPIA,                      )      OF RELEASE
 9                                        )
                       Defendant.         )
10                                        )

11         BEFORE THE COURT is Defendant’s Motion to Modify conditions of

12   release pending trial, to permit her to attend religious services

13   on Sunday evenings from 6:00 p.m. to 8:30 p.m.                  The court has

14   reviewed the reasons for the request and there is no objection by

15   the United State Probation Office.

16         IT IS ORDERED that the Motion to Modify conditions of release

17   (Ct. Rec. 89) pending trial is GRANTED.               The conditions of home
18   detention with electronic monitoring and the daily curfew shall be
19   MODIFIED to allow Defendant to be away from her home until 9:00
20   p.m. on Sundays for participation in religious services only.               The
21   curfew of 7:00 a.m. to 6:00 p.m. shall be in effect for the
22   remaining days of the week.        All other conditions of release shall
23   remain in effect.
24         DATED April 15, 2008.
25                              S/ CYNTHIA IMBROGNO
                           UNITED STATES MAGISTRATE JUDGE
26

27   ORDER GRANTING UNOPPOSED MOTION TO MODIFY CONDITIONS OF RELEASE - 1
